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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


   MEGANNE NATALE and CHELSEA                         Case No. 2:21-cv-6775-JS-SIL
   CHENG, individually and on behalf of all
   others similarly situated,                         Hon. Joanna Seybert

                                   Plaintiffs,

           v.

   9199-4467 QUEBEC INC., d/b/a EARTH
   RATED,

                                   Defendant.


                  PLAINTIFFS’ NOTICE OF UNOPPOSED MOTION FOR
                  FINAL APPROVAL OF CLASS ACTION SETTLEMENT

 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

        PLEASE TAKE NOTICE that on October 23, 2024 at 10:30 a.m., before the Honorable

 Joanna Seybert, United States District Court Judge for the Eastern District of New York, at the

 Alfonse M. D’Amato Federal Building, 100 Federal Plaza, Courtroom 1030, Central Islip, New

 York 11722, Plaintiffs Meganne Natale and Chelsea Cheng, by and through Class Counsel, will

 move and hereby do move for an order: (i) finally approving the Class Action Settlement, and

 (ii) certifying the Settlement Class.

        PLEASE TAKE FURTHER NOTICE that, in support of the motion, Plaintiffs will rely

 upon: (i) the accompanying memorandum of law in support; (ii) the Declaration of Max S. Roberts

 and the exhibits attached thereto; and (iii) the Declaration of Ryan Bahry of JND Legal

 Administration and the exhibits attached thereto.

        A [Proposed] Order Granting Final Approval of Class Action Settlement and Entering

 Judgment is submitted herewith.



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 Dated: September 9, 2024                      Respectfully submitted,

                                               By: /s/ Max S. Roberts
                                                       Max S. Roberts

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                                               Class Counsel




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